Case: 1:20-cv-02219-PAB Doc #: 1-1 Filed: 09/30/20 1 of 22. PagelD #: 6

EXHIBIT A
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Case: 1:20-cv-02219-PAB Doc #: 1-1 Filed: 09/30/20 2 of 22. PagelD #: 7

COURT OF COMMON PLEAS RICHLAND ‘COUNTY
CIVIL DIVISION CLERK OF COURTS -
RICHLAND COUNTY OHIO FILED

DASHON TAYLOR
492 S. James Road
Columbus, OH 43123

VS.

DAVID W. MANGENI
15 Church Street
Mansfield, MA 02048

and

FEDEX GROUND PACKAGE
SYSTEM, INC.

Serve: CT Corporation System
4400 Easton Commons Way
Suite 125

Columbus, OH 43219

and

STEPHANIE MCCLOUD
ADMINISTRATOR OF THE OHIO
BUREAU OF WORKERS’
COMPENSATION

30 W. Spring Street

Columbus, Ohio 43215

Defendants

M0 AUG 27 A 1: 59

LINDA H. FR
CLERK OF COURTS

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“es NN AUMOFF

* COMPLAINT

i LindaH. Frary, Clerk of Courts
Richland County; Ohio, hereby certify that
the foregoing is‘a true and correct.copy of the

COMPLAINT

filed wine B20 1-20
aw

Deputy Clerk of Courts

~

FOR HER COMPLAINT, Plaintiff Dashon Taylor states:

OVERVIEW

This civil action arises from September 19, 2018 clear liability collision in which a FedEx

Ground Package System Inc. (“FedEx”) truck being operated by David W. Mangeni negligently

failed to use caution before changing lanes and crashed into a vehicle driven by Plaintiff Dashon

Taylor causing her to sustain multiple injuries.
Case: 1:20-cv-02219-PAB Doc #: 1-1 Filed: 09/30/20 3 of 22. PagelD #: 8

FIRST CAUSE OF ACTION
Negligence of David W. Mangeni

1. On or about September 19, 2018, Plaintiff Dashon Taylor was operating a motor vehicle on

Interstate 71 northbound near milepost 175 in Richland County, Ohio.

2. On or about September 19, 2018, Defendant David W. Mangeni was operating a truck owned
by his employer and/or operated on behalf of his employer, FedEx, on Interstate 71 northbound

near milepost 175 in Richland County, Ohio.

3. On or about September 19, 2018, Defendant David W. Mangeni carelessly and without due
regard for the safety of others negligently failed to change lanes in a safe manner causing a

collision between the truck he was driving and the Plaintiff’ Dashon Taylor’s vehicle.

4.As a direct and proximate result of Defendant David W. Mangeni’s negligence,
Plaintiff Dashon Taylor has incurred temporary and permanent injuries; has endured great pain
and suffering of both mind and body and will continue to endure such pain and suffering in the
future; has incurred medical expenses and will continue to incur medical expenses in the future;
has incurred lost wages in an undetermined amount and will continue to incur lost wages in the
future; and has suffered damages for the lost enjoyment of life and will suffer damages for the
lost enjoyment of life in the future.
SECOND CAUSE OF ACTION
Statutory Violations of David W. Mangeni

5. All allegations and causes of action above are incorporated into this cause of action by

reference.
Case: 1:20-cv-02219-PAB Doc #: 1-1 Filed: 09/30/20 4 of 22. PagelD #: 9

6. Defendant David W. Mangeni violated state statutes and regulations, including but not limited

to ORC § 4511.33.

7. Defendant David W. Mangeni’s statutory violations directly and proximately caused

Plaintiff's damages and injuries.
8. Defendant David W. Mangeni is negligent per se based on these statutory violations.

THIRD CAUSE OF ACTION
Vicarious Liability of Defendant FedEx
9. All allegations and causes of action above are incorporated into this cause of action by

reference.

10. At all relevant times, Defendant David W. Mangeni was the employee, agent, servant, or
independent contractor for Defendant FedEx. Accordingly, Defendant FedEx is vicariously liable
for the acts of Defendant David W. Mangeni described in the causes of action above.
FOURTH CAUSE OF ACTION
Negligence of Defendant FedEx
11. All allegations and causes of action above are incorporated into this cause of action by

reference.

12. Defendant FedEx had a duty to act reasonably in hiring, instructing, training, supervising and
retaining its drivers and other employees and agents, including Defendant David W. Mangeni,
and to promulgate and enforce policies, procedures, and rules to ensure that its drivers and

vehicles were reasonably safe.
Case: 1:20-cv-02219-PAB Doc #: 1-1 Filed: 09/30/20 5 of 22. PagelD #: 10

13. Defendant FedEx had a duty to exercise reasonable care in entrusting its vehicles and

equipment to responsible, competent and qualified drivers.
14. Defendant FedEx failed in the above-mentioned duties and was therefore negligent.

15. Defendant FedEx’s negligence was the direct and proximate cause of Plaintiff Dashon

Taylor’s injuries and the damages described in this Complaint.

FIFTH CAUSE OF ACTION
16. All allegations and causes of action above are incorporated into this cause of action by

reference.

17. Upon information and belief, Defendant Ohio Bureau of Workers’ Compensation has paid
certain expenses incurred by Plaintiff Dashon Taylor as a result of the negligence of Defendants

David W. Mangeni and FedEx.

18. Defendant Ohio Bureau of Workers’ Compensation may claim a subrogated interest in the

proceeds of this litigation.

19. Plaintiff states that Defendant Ohio Bureau of Workers’ Compensation may set forth its

interest, if any, herein or forever be barred.

WHEREFORE, Plaintiff respectfully: requests judgment in her favor and against all
Defendants David W. Mangeni and FedEx in an amount that is just and fair and in excess of
Twenty-five thousand dollars ($25,000.00) (exclusive of costs and interest), in addition to any

other relief that this Honorable Court deems just under the circumstances. In addition, Plaintiff
Case: 1:20-cv-02219-PAB Doc #: 1-1 Filed: 09/30/20 6 of 22. PagelD #: 11

requests that Defendant Ohio Bureau of Workers’ Compensation set forth their subrogated

claim and/or right of reimbursement or forever be barred.

Respectfully Submitted,
O’CONNOR, ACCIANI & LEVY LPA

Zan

Anna Christine — 0087416
Andrew Trice - 0088521
Attorney for Plaintiff

10 West Broad St. Suite 1170
Columbus, OH 43215

Phone: 614-545-7220

Fax: 888-225-1065

Email: ac@oal-law.com
Email: ajt@oal-law.com
 

Case: 1:20-cv-02219-PAB Doc #: 1-1 Filed: 09/30/20 7 of 22. PagelD #: 12

CT Corporation

To: Matthew Endlish

Service of Process
Transmittal
09/11/2020

CT Log Number 538229847

Fedex Ground Package System, Inc.

1000 FED EX DR

MOON TOWNSHIP, PA 15108-9373

RE: Process Served in Ohio

FOR: FedEx Ground Package System, Inc. (Domestic State: DE)

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:

DOCUMENT(S) SERVED:

COURT/AGENCY:

NATURE OF ACTION:

ON WHOM PROCESS WAS SERVED:

DATE AND HOUR OF SERVICE:
JURISDICTION SERVED :
APPEARANCE OR ANSWER DUE:

ATTORNEY(S) / SENDER(S):

ACTION ITEMS:

SIGNED:
ADDRESS:

For Questions:

DASHON TAYLOR, Pltf. vs. DAVID W. MANGENI, et al., Dfts. // To: FEDEX GROUND
PACKAGE SYSTEM INC
Name discrepancy noted.

Order

Richland County Court of Common Pleas, OH
Case # 2020CV0428

Personal Injury - Vehicle Collision - Scheduling Order is here by served

C T Corporation System, Columbus, OH

By Regular Mail on 09/11/2020 postmarked on 09/08/2020

Ohio

11/16/2020 at 11:00 a.m. (Document(s) may contain additional answer dates)

Anna Christine

O'CONNOR, ACCIANI & LEVY LPA
10 West Broad St. Suite 1170
Columbus, OH 43215
614-545-7220

CT has retained the current log, Retain Date: 09/11/2020, Expected Purge Date:
09/16/2020

Image SOP
Email Notification, Matthew Endlish matthew.endlish@fedex.com

Email Notification, Lisa Santucci lisa.santucci@fedex.com

C T Corporation System
1999 Bryan St Ste 900
Dallas, TX 75201-3140

877-564-7529
MajorAccountTeam2@wolterskluwer.com

Page 1 of 2/ SD

Information displayed on this transmittal is for CT
Corporation's record keeping purposes only and is provided to
the recipient for quick reference. This information does not
constitute a legal opinion as to the nature of action, the
amount of damages, the answer date, or any information
contained in the documents themselves. Recipient is
responsible for interpreting said documents and for taking
appropriate action. Signatures on certified mail receipts
confirm receipt of package only, not contents.
 

Case: 1:20-cv-02219-PAB Doc #: 1-1 Filed: 09/30/20 8 of 22. PagelD #: 13

CT Corporation

TO: Matthew Endlish
Fedex Ground Package System, Inc.
1000 FED EX DR
MOON TOWNSHIP, PA 15108-9373

RE: Process Served in Ohio

FOR: FedEx Ground Package System, Inc. (Domestic State: DE)

DOCKET HISTORY:
DOCUMENT(S) SERVED: DATE AND HOUR OF SERVICE:

Summons, Complaint By Certified Mail on 09/04/2020
postmarked on 08/31/2020

Service of Process

Transmittal
09/11/2020
CT Log Number 538229847

To: CT LOG NUMBER:
Matthew Endlish 538199776

Fedex Ground Package

System, Inc.

Page 2 of 2/ SD

Information displayed on this transmittal is for CT
Corporation's record keeping purposes only and is provided to
the recipient for quick reference. This information does not
constitute a legal opinion as to the nature of action, the
amount of damages, the answer date, or any information
contained in the documents themselves. Recipient is
responsible for interpreting said documents and for taking
appropriate action. Signatures on certified mail receipts
confirm receipt of package only, not contents.
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Case: 1:20-cv-02219-PAB Doc #; 1
Case: 1:20-cv-02219-PAB Doc #: 1-1 Filed: 09/30/20 10 of 22. PagelD #: 15

IN THE COMMON PLEAS COURT
RICHLAND COUNTY, OHIO
Case No. 2020 CV 0428 R

 

DASHON TAYLOR DAVID W MANGENI
Plaintiff Defendant
SEND TO:

FEDEX GROUND PACKAGE SYSTEM INC
C/O CT CORPORTATION SYSTEM

4400 EASTON COMMONS WAY

SUITE 125

COLUMUBS, OH 43219
2020 CV 0428

ANNA CHRISTINE ()-
O'CONNOR ACCIANI & LEVY LPA

10 WEST BROAD STREET

COLUMBUS, OH 43215

(614)-545-7220

SCHEDULING ORDER
An INITIAL SCHEDULING CONFERENCE in the above case is ORDERED:

Date: 11/16/2020 | Time: 11:00 am

Place: 50 PARK AVE. EAST Courtroom: COURTROOM 3
MANSFIELD, OH 44902 Phone 419-774-5570

NOTICE: YOU STILL MUST ANSWER THE COMPLAINT, WITHIN 28 DAYS AFTER IT WAS
SERVED ON YOU, TO AVOID DEFAULT JUDGMENT AGAINST YOU.

This scheduling conference will be conducted by the MAGISTRATE ANDREA J CLARK and may be held by telephone
upon the condition that opposing counsel are notified and given the opportunity to appear by phone as well. The
requesting party shall conference in all parties appearing by phone and then conference in the Court. The Court
does not require notice of the intent to appear by phone. The scheduling conference will identify issues for trial and
establish a schedule for disposition of the case. Counsel (not secretaries or paralegals) shall be prepared to discuss
issues in the case, discovery yet to be completed and the time needed for discovery, pending or anticipated motions,
settlement proposals, time required for trial and trial dates. Attorneys will bring their calendars to the conference to

facilitate scheduling.
IF THERE ARE ANY DEFENDANTS WHO HAVE NOT YET ENTERED AN APPEARANCE, PLAINTIFF'S COUNSEL SHALL

ASSURE THEY ARE SERVED WITH A COPY OF THIS SCHEDULING ORDER WHEN THEY APPEAR.
SO ORDERED.

JUDGE PHILLIP S NAUMOFF

 

CERTIFICATE OF SERVICE

i hereby certify that a true and correct copy of the foregoing was served according to local rules and sent by ([]
Regular Mail, Oy Hand-delivered to parties, {_] Placed in counsel's box in Clerk’s Office on September 3, 2020 , to the
following:
CC:
DAVID W MANGENI ANNA CHRISTINE
BUREAU OF WORKERS COMPENSATION
ANDREW TRICE MO
 

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Case: 1:20-cv-02219-PAB Doc #: 1-1 Filed: 09/30/20 11 of 22. PagelD #: 16

RICHLAND COUNTY

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COURT OF COMMON PLEAS por fours
CIVIL DIVISION |
RICHLAND COUNTY OHIO 2320 SEP 2} P [234

DASHON TAYLOR
492 S. James Road
Columbus, OH 43123

VS.

DAVID W. MANGENI
284 Ware Street
Mansfield, MA 02048

and

FEDEX GROUND PACKAGE
SYSTEM, INC.

Serve: CT Corporation System
4400 Easton Commons Way
Suite 125

Columbus, OH 43219

and

DNM EXPRESS, INC.
Serve:

Erina Dallvo

1700 Dorchester Ave
Dorchester, MA 02122

and

STEPHANIE MCCLOUD
ADMINISTRATOR OF THE OHIO
BUREAU OF WORKERS’
COMPENSATION

30 W. Spring Street

Columbus, Ohio 43215

Defendants

LINDA H FR An
CLERM oF ae

: Case #: 20CV428
: Judge: Naumoff

: AMENDED COMPLAINT
 

Case: 1:20-cv-02219-PAB Doc #: 1-1 Filed: 09/30/20 12 of 22. PagelD #: 17

FOR HER COMPLAINT, Plaintiff Dashon Taylor states:

OVERVIEW
This civil action arises from September 19, 2018 clear liability collision in which a FedEx Ground
Package System Inc. (“FedEx”) and/or a DNM Express, Inc. truck being operated by David W.
Mangeni negligently failed to use caution before changing lanes and crashed into a vehicle driven
by Plaintiff Dashon Taylor causing her to sustain multiple injuries.

FIRST CAUSE OF ACTION
Negligence of David W. Mangeni

1. On or about September 19, 2018, Plaintiff Dashon Taylor was operating a motor vehicle on

Interstate 71 northbound near milepost 175 in Richland County, Ohio.

2. On or about September 19, 2018, Defendant David W. Mangeni was operating a truck owned
by his employer and/or operated on behalf of his employer, FedEx and/or DNM Express, Inc., on

Interstate 71 northbound near milepost 175 in Richland County, Ohio.

3. On or about September 19, 2018, Defendant David W. Mangeni carelessly and without due
regard for the safety of others negligently failed to change lanes in a safe manner causing a

collision between the truck he was driving and the Plaintiff Dashon Taylor’s vehicle.

4. As a direct and proximate result of Defendant David W. Mangeni’s negligence, Plaintiff Dashon
Taylor has incurred temporary and permanent injuries; has endured great pain and suffering of
both mind and body and will continue to endure such pain and suffering in the future; has incurred
medical expenses and will continue to incur medical expenses in the future; has incurred lost wages

in an undetermined amount and will continue to incur lost wages in the future; and has suffered
 

 

Case: 1:20-cv-02219-PAB Doc #: 1-1 Filed: 09/30/20 13 of 22. PagelD #: 18

damages for the lost enjoyment of life and will suffer damages for the lost enjoyment of life in the

future.

SECOND CAUSE OF ACTION
Statutory Violations of David W. Mangeni

5. All allegations and causes of action above are incorporated into this cause of action by reference.

6. Defendant David W. Mangeni violated state statutes and regulations, including but not limited

to ORC § 4511.33.

7. Defendant David W. Mangeni’s statutory violations directly and proximately caused Plaintiff's

damages and injuries.
8. Defendant David W. Mangeni is negligent per se based on these statutory violations.

THIRD CAUSE OF ACTION
Vicarious Liability of Defendant FedEx

9. All allegations and causes of action above are incorporated into this cause of action by reference.

10. At all relevant times, Defendant David W. Mangeni was the employee, agent, servant, or
independent contractor for Defendant FedEx. Accordingly, Defendant FedEx is vicariously liable
for the acts of Defendant David W. Mangeni described in the causes of action above.
FOURTH CAUSE OF ACTION
Negligence of Defendant FedEx

11. All allegations and causes of action above are incorporated into this cause of action by

reference.
Case: 1:20-cv-02219-PAB Doc #: 1-1 Filed: 09/30/20 14 of 22. PagelD #: 19

12. Defendant FedEx had a duty to act reasonably in hiring, instructing, training, supervising and
retaining its drivers and other employees and agents, including Defendant David W. Mangeni, and
to promulgate and enforce policies, procedures, and rules to ensure that its drivers and vehicles

were reasonably safe.

13. Defendant FedEx had a duty to exercise reasonable care in entrusting its vehicles and

equipment to responsible, competent and qualified drivers.

14. Defendant FedEx failed in the above-mentioned duties and was therefore negligent.

15. Defendant FedEx’s negligence was the direct and proximate cause of Plaintiff Dashon
Taylor’s injuries and the damages described in this Complaint.
FIFTH CAUSE OF ACTION
Vicarious Liability of Defendant DNM Express, Inc.

16. All allegations and causes of action above are incorporated into this cause of action by

reference.

17. At all relevant times, Defendant David W. Mangeni was the employee, agent, servant, or
independent contractor for Defendant DNM Express, Inc. Accordingly, Defendant DNM Express,
Inc. is vicariously liable for the acts of Defendant David W. Mangeni described in the causes of
action above.
SIXTH CAUSE OF ACTION
Negligence of Defendant DNM Express
18. All allegations and causes of action above are incorporated into this cause of action by

reference.
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Case: 1:20-cv-02219-PAB Doc #: 1-1 Filed: 09/30/20 15 of 22. PagelD #: 20

19. Defendant DNM Express, Inc. had a duty to act reasonably in hiring, instructing, training,
supervising and retaining its drivers and other employees and agents, including Defendant David
W. Mangeni, and to promulgate and enforce policies, procedures, and rules to ensure that its

drivers and vehicles were reasonably safe.

20. Defendant DNM Express, Inc. had a duty to exercise reasonable care in entrusting its vehicles

and equipment to responsible, competent and qualified drivers.

21. Defendant DNM Express, Inc. failed in the above-mentioned duties and was therefore

negligent.

22. Defendant DNM Express, Inc’s negligence was the direct and proximate cause of Plaintiff

Dashon Taylor’s injuries and the damages described in this Complaint.

SEVENTH CAUSE OF ACTION
23. All allegations and causes of action above are incorporated into this cause of action by

reference.

24. Upon information and belief, Defendant Ohio Bureau of Workers’ Compensation has paid
certain expenses incurred by Plaintiff Dashon Taylor as a result of the negligence of Defendants

David W. Mangeni and FedEx.

25. Defendant Ohio Bureau of Workers’ Compensation may claim a subrogated interest in the

proceeds of this litigation.

26. Plaintiff states that Defendant Ohio Bureau of Workers’ Compensation may set forth its

interest, if any, herein or forever be barred.
Case: 1:20-cv-02219-PAB Doc #: 1-1 Filed: 09/30/20 16 of 22. PagelD #: 21

WHEREFORE, Plaintiff respectfully requests judgment in her favor and against all
Defendants David W. Mangeni, FedEx and DNM Express Inc. in an amount that is just and fair
and in excess of Twenty-five thousand dollars ($25,000.00) (exclusive of costs and interest), in
addition to any other relief that this Honorable Court deems just under the circumstances. In
addition, Plaintiff requests that Defendant Ohio Bureau of Workers’ Compensation set forth their

subrogated claim and/or right of reimbursement or forever be barred.

Respectfully Submitted,
O’CONNOR, ACCIANI & LEVY LPA

A Wo

Anna Christine — 0087416
Andrew Trice - 0088521
Attorney for Plaintiff

10 West Broad St. Suite 1170
Columbus, OH 43215

Phone: 614-545-7220

Fax: 888-225-1065

Email: ac@oal-law.com
Email: ajt@oal-law.com

 
Case: 1:20-cv-02219-PAB Doc #: 1-1 Filed: 09/30/20 17 of 22. PagelD #: 22

 

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IN THE RICHLAND COUNTY COURT OF COMMON PLEAS CLERK (OF COU RTS

=
DASHON TAYLOR : Case No: 2020 CV 0428
Plaintiff, 2020 SEP 28 P 2 19
Vs. : Judge: Naumoff
LINDA H. FRARY
CLERK OF COURTS

DAVID W. MANGENTL, et al. : ANSWER
Defendants.

ANSWER

Defendant, State of Ohio, Bureau of Workers’ Compensation, by and through the Ohio
Attorney General acting through Special Counsel duly appointed as provided in section 109.08 of
the Ohio Revised Code, answers the complaint as follows:

1. The BWC admits the allegations in paragraphs 17, 18, and 19 of the complaint.

2. The BWC denies for lack of knowledge the remaining allegations of the complaint.

Wherefore, the BWC, as statutory subrogee pursuant to R.C. 4123.93 et seq., requests that
its liens be accorded their rightful priority. As of September 9, 2020, these liens total $2,623.24
in medical payments, $27,697.23 in compensation, and $43,403.03 in future payments.

Respectfully submitted,

DAVE YOST
OHIO ATTORNEY GENERAL

GO? pe—

Andrew D. Bowers (0071486)

ANDY BOWERS & ASSOCIATES LLC
Special Counsel for the Attorney General
612 Park Street, Suite 300

Columbus, Ohio 43215

(614) 220-5330 Telephone

(614) 220-7903 Facsimile
abowers@andybowerslaw.com
Case: 1:20-cv-02219-PAB Doc #: 1-1 Filed: 09/30/20 18 of 22. PagelD #: 23

CERTIFICATE OF SERVICE

The undersigned certifies that a true and accurate copy of the foregoing was served on the
15th day of September 2020, via electronic and/or U.S. regular mail upon the following:

Anna Christine

Andrew Trice

10 West Broad Street, Suite 1170
Columbus, Ohio 43215
ac@oal-law.com

Attorney for Plaintiff Dashon Taylor

David W. Mangeni

284 Ware Street

Mansfield, Massachusetts 02048
Defendant

FedEx Ground Package System

CT Corporation System

4400 Easton Commons Way, Suite 125
Columbus, Ohio 43219

Defendant

GQ? Ar~—

Andrew D. Bowers (0071486)

 
Case: 1:20-cv-02219-PAB Doc #: 1-1 Filed: 09/30/20 19 of 22. PagelD #: 24

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K/ IN THE RICHLAND COUNTY COURT OF COMMON PLEAS U Leni GF GOuRTS
WE
O : Case No: 2020 CV 0428
eee ea ace aseNo 100 SEP 28 P22
VS. : Judge: Naumoff LINDA H. FRARY
CLERKS OF COURTS
DAVID W. MANGENJ, et al. : MOTION FOR REALIGNMENT
Defendants.

MOTION OF DEFENDANT OHIO BUREAU OF WORKERS’ COMPENSATION
FOR REALIGNMENT OF THE PARTIES

Defendant, State of Ohio, Bureau of Workers’ Compensation, by and through the Ohio
Attorney General acting through Special Counsel duly appointed as provided in section 109.08 of
the Ohio Revised Code, and pursuant to Rule 21 of the Ohio Rules of Civil Procedure, moves this
Court for an Order realigning it as a named party plaintiff in this action. The grounds supporting

this motion are set forth in the accompanying memorandum.

Respectfully submitted,

DAVE YOST
OHIO ATTORNEY GENERAL

G2 2—

Andrew D. Bowers (0071486)

ANDY BOWERS & ASSOCIATES LLC
Special Counsel for the Attorney General
612 Park Street, Suite 300

Columbus, Ohio 43215

(614) 220-5330 Telephone

(614) 220-7903 Facsimile
abowers@andybowerslaw.com
Case: 1:20-cv-02219-PAB Doc #: 1-1 Filed: 09/30/20 20 of 22. PagelD #: 25

MEMORANDUM IN SUPPORT

I. INTRODUCTION

This lawsuit arises out of injuries sustained by Dashon Taylor, as a result of an accident
allegedly caused by the actions of a named third-party tortfeasor, on or about September 19, 2018
in Richland County, Ohio. At the time of the accident, Ms. Taylor was in the course and scope of
her employment. As a result of her injuries, Ms. Taylor filed a claim for workers’ compensation
benefits with the Ohio Bureau of Workers’ Compensation [““BWC”] which was assigned Claim
No. 19-163472. Presently, the BWC has paid $2,623.24 in medical bills, and $27,697.23 in
compensation on behalf of Plaintiff. In addition, the BWC is entitled to future costs, currently
calculated at $43,403.03.

Ohio Revised Code sections 4123.93 and 4123.931 create an independent right of recovery
in favor of a statutory subrogee, in this case the BWC, against a third party who is or may be liable
to the Plaintiff for her injuries. As Taylor’s workers’ compensation benefits provider at the time
of her accident on September 19, 2018, the BWC’s interests in this lawsuit are aligned with those
of Plaintiff Taylor, not with the named Defendant. As such, the BWC should be denominated as
a plaintiff, not as a defendant.

IL. THE BUREAU SHOULD BE REALIGNED AS A PARTY PLAINTIFF

Rule 21 of the Ohio Rules of Civil Procedure addresses the misjoinder and non-joinder of
parties. While not specifically stated in the rule itself, the Court has the power pursuant to Rule

21 to realign a party defendant as a plaintiff when the interests of the nominal defendant and the

plaintiff coincide.

In New Artesian CR/PL v. Ohio Mini-Melt, Stark County App. No. 98-CA-0004, 1998 Ohio

App. LEXIS 3108 (Ohio Ct. App., Stark County June 15, 1998), the Stark County Common Pleas
Case: 1:20-cv-02219-PAB Doc #: 1-1 Filed: 09/30/20 21 of 22. PagelD #: 26

Court granted a self-insuring employer’s motion to realign it as a party-plaintiff in a third-party
tortfeasor case under the previous version of Ohio’s workers’ compensation subrogation statute.
The self-insuring employer was the subrogee and participated as a “party-plaintiff’ throughout the
litigation.

In the present case, the BWC is a party to the case because it is a subrogee to Ms. Taylor’s
claims in tort against the named defendant. A cursory review of Plaintiffs Complaint reveals that
the BWC should not be listed as a defendant. Plaintiff's claims are directed solely at the named
defendant, and not against the BWC. Because the BWC and the Plaintiff have similar interests,
realignment of the parties is appropriate. The BWC is attaching a copy of its proposed Judgment
Entry ordering realignment of the parties and its proposed Complaint as a named party plaintiff as
Exhibits to this motion.

iI. CONCLUSION

For the foregoing reasons, Defendant Ohio Bureau of Workers’ Compensation’s Motion
for an Order realigning the parties and allowing the BWC to file its Complaint as a named party
plaintiff should be granted.

Respectfully submitted,

DAVE YOST
OHIO ATTORNEY GENERAL

47 2Z2—

Andrew D. Bowers (0071486)

ANDY BOWERS & ASSOCIATES LLC

As Special Counsel for the Attorney General
612 Park Street Suite 300

Columbus, Ohio 43215

(614) 220-5330 Telephone

(614) 220-7903 Facsimile
abowers@andybowerslaw.com
Case: 1:20-cv-02219-PAB Doc #: 1-1 Filed: 09/30/20 22 of 22. PagelD #: 27

CERTIFICATE OF SERVICE

The undersigned certifies that a true and accurate copy of the foregoing was served on the
15th day of September 2020, via electronic and/or U.S. regular mail upon the following:

Anna Christine

Andrew Trice

10 West Broad Street, Suite 1170
Columbus, Ohio 43215
ac@oal-law.com

Attorney for Plaintiff Dashon Taylor

David W. Mangeni

284 Ware Street

Mansfield, Massachusetts 02048
Defendant

FedEx Ground Package System

CT Corporation System

4400 Easton Commons Way, Suite 125
Columbus, Ohio 43219

Defendant

YG? gl

Andrew D. Bowers (0071486)
